        Case 19-36089 Document 26 Filed in TXSB on 12/04/19 Page 1 of 1



                       UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION                                       ENTERED
                                                                                      12/04/2019
IN RE:                                      §
ELISA CASTROLUGO                            §      CASE NO: 19-36089
       Debtor(s)                            §
                                            §      CHAPTER 7

                                      ORDER
                                RE-SETTING HEARING

        The hearing on Order for Initial Hearing and Compelling Attendance, ECF No. 20,
currently scheduled for December 17, 2019 is hereby re-set to DECEMBER 17, 2019 AT 8:30
A.M., United States Bankruptcy Court, Bob Casey Federal Building, Courtroom #402, 515 Rusk
Street, Houston, Texas, 77002,




      SIGNED 12/04/2019.


                                            ___________________________________
                                                    Eduardo V. Rodriguez
                                                 United States Bankruptcy Judge




1/1
